       Case 3:18-cv-01853-W-BLM Document 1 Filed 08/08/18 PageID.1 Page 1 of 9




 1   Anna Y. Park, SBN 164242
     Sue J. Noh, SBN 192134
 2   Rumduol Vuong, SBN 264392
 3   Natalie Nardecchia, SBN 246486
     U.S. EQUAL EMPLOYMENT
 4   OPPORTUNITY COMMISSION
     255 East Temple Street, Fourth Floor
 5   Los Angeles, CA 90012
 6   Telephone: (213) 894-1032
     Facsimile: (213) 894-1301
 7   E-Mail: lado.legal@eeoc.gov
 8
 9   Attorneys for Plaintiff
     U.S. EQUAL EMPLOYMENT
10   OPPORTUNITY COMMISSION
11
                                  UNITED STATES DISTRICT COURT
12
                                 SOUTHERN DISTRICT OF CALIFORNIA
13
14   U.S. EQUAL EMPLOYMENT                           ) Case No.: '18CV1853 W BLM
     OPPORTUNITY COMMISSION,                         )
15                                                   )
                                                     ) COMPLAINT – TITLE VII
16                  Plaintiff,                       )     Sexual Harassment
                                                     )     Retaliation
17                                                   )
            vs.
                                                     )     Constructive Discharge
18                                                   )
     Bay Club Fairbanks Ranch, LLC d/b/a             )
19   Fairbanks Ranch Country Club, Fairbanks         )
     Ranch Country Club, Inc. and DOES 1-10,         )
20   inclusive,                                      )
                                                     ) JURY TRIAL DEMAND
21                                                   )
                    Defendants.                      )
22                                                   )
23
24                                    NATURE OF THE ACTION
25          This is an action under Title VII of the Civil Rights Act of 1964 and Title I of the Civil

26   Rights Act of 1991 to correct unlawful employment practices based on sex and to provide

27   appropriate relief to Charging Party Sidney Scott Charging Party and a class of individuals

28   (collectively, “adversely affected employees”) who were adversely affected by such practices.




                                                     -1-
       Case 3:18-cv-01853-W-BLM Document 1 Filed 08/08/18 PageID.2 Page 2 of 9




 1   As set forth in greater detail in the foregoing paragraphs of this Complaint, Plaintiff United
 2   States Equal Employment Opportunity Commission (“Plaintiff” or “Commission”) alleges that
 3   Defendants Bay Club Fairbanks, LLC (“Bay Club”), Fairbanks Ranch Country Club, Inc.
 4   (“Fairbanks”), and DOES 1-10 (collectively, “Defendants”) subjected Charging Party Sidney
 5   Scott (“Charging Party”) and other adversely affected employees to sexual harassment during
 6   their employment with Defendants. Specifically, Plaintiff alleges that Defendants both created a
 7   hostile work environment and that Defendants subjected Charging Party and other adversely
 8   affected employees to quid pro quo harassment, by conditioning favorable terms and conditions
 9   of employment, including pay, shifts, hours, and continued employment, upon engagement in, or
10   acquiesce to, sexual interactions or relationships. Plaintiff further alleges that Defendants
11   subjected Charging Party and other adversely affected employees to retaliation for engaging in
12   protected activity regarding such unlawful practices, resulting in constructive discharge and/or
13   less favorable terms and conditions of employment.
14                                    JURISDICTION AND VENUE
15          1.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331, 1337,
16   1343 and 1345. This action is authorized and instituted pursuant to §§ 706(f)(1) and (3) of Title
17   VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e-5(f)(1) and (3) (“Title VII”)
18   and §102 of the Civil Rights Act of 1991, 42 U.S.C. § 1981a.
19          2.      The employment practices alleged to be unlawful were and are now being
20   committed at Defendants’ Fairbanks Ranch Country Club facility, which is located in Rancho
21   Santa Fe, within the jurisdiction of the United States District Court for the Southern District of
22   California.
23                                                PARTIES
24          3.      Plaintiff is an agency of the United States of America charged with the
25   administration, interpretation and enforcement of Title VII, and is expressly authorized to bring
26   this action by §§ 706(f)(1) and (3), Title VII, 42 U.S.C. § 2000e-5(f)(1) and (3).
27          4.      Prior to July 2016, Defendant Fairbanks Ranch Country Club, Inc. (“Fairbanks”),
28   operated Fairbanks Country Club, a self-described “premier resort-style property,” with golf,




                                                      -2-
       Case 3:18-cv-01853-W-BLM Document 1 Filed 08/08/18 PageID.3 Page 3 of 9




 1   tennis, restaurant and bar in the City of Rancho Santa Fe, California, within San Diego County.
 2          5.      In or around July 2016, Defendant Bay Club Fairbanks Ranch, LLC d/b/a
 3   Fairbanks Ranch Country Club (“Bay Club”) acquired the Fairbanks Country Club from
 4   Defendant Fairbanks and became a successor to Defendant Fairbanks.
 5          6.      Even prior to the acquisition, Defendant Bay Club operated and managed the
 6   Fairbanks Ranch Country Club. Documents provided to Charging Party and other employees,
 7   including employment applications and handbook, included the name Bay Club or listed Bay
 8   Club as the employer. Defendant Bay Club’s employee were also responsible for hiring the
 9   Fairbanks Ranch Country Club’s General Manager.
10          7.      After the acquisition, Defendant Bay Club continued operations at Fairbanks
11   Ranch Country Club and retained the same employees, notifying employees in May 2016 that
12   club operations would proceed uninterrupted despite the sale.
13          8.      Defendant Bay Club had notice through its Regional Manager of the allegations
14   of sexual harassment as the charge of discrimination filed with the EEOC by Sidney Scott was
15   addressed to the Regional Manager.
16          9.      Defendant Fairbanks Ranch Country Club, Inc. is a predecessor entity that has
17   dissolved as of January 2017.
18          10.     At all relevant times, Defendant Bay Club has continuously been a corporation
19   doing business in the State of California, and has continuously had at least 15 employees.
20          11.     At relevant times until its dissolution in around January 2017, Defendant
21   Fairbanks continuously had at least 15 employees and was continuously a corporation doing
22   business in the State of California.
23          12.     At all relevant times, Defendant Bay Club has continuously been an employer
24   engaged in an industry affecting commerce within the meaning of Sections 701(b), (g), and (h)
25   of Title VII, 42 U.S.C. §§ 2000e(b), (g), and (h).
26          13.     At relevant times until its dissolution in around January 2017, Defendant
27   Fairbanks was continuously an employer engage in an industry affecting commerce within the
28   meaning of Sections 701(b), (g), and (h) of Title VII, 42 U.S.C. §§ 2000e(b), (g), and (h).




                                                     -3-
       Case 3:18-cv-01853-W-BLM Document 1 Filed 08/08/18 PageID.4 Page 4 of 9




 1          14.     All acts and failures to act alleged herein were duly performed by and attributable
 2   to all Defendants, each acting as a successor, agent, alter ego, employee, indirect employer, joint
 3   employer, integrated enterprise and/or or under the direction and control of the others, except as
 4   specifically alleged otherwise. Said acts and failures to act were within the scope of such agency
 5   and/or employment, and each Defendant participated in, approved and/or ratified the unlawful
 6   acts and omissions by the other Defendants complained of herein. Whenever and wherever
 7   reference is made in this Complaint to any act by a Defendant or Defendants, such allegations
 8   and reference shall also be deemed to mean the acts and failures to act of each Defendant acting
 9   individually, jointly, and/or severally.
10          15.     Plaintiff is ignorant of the true names and capacities of each defendant sued as
11   DOES 1 through 10, inclusively, and therefore Plaintiff sues said defendants by fictitious names.
12   Plaintiff reserves the right to amend the complaint to name each DOE defendant individually or
13   corporately as it becomes known. Plaintiff alleges that each DOE defendant was in some manner
14   responsible for the acts and omissions alleged herein and Plaintiff will amend the complaint to
15   allege such responsibility when the same shall have been ascertained by Plaintiff.
16                                      STATEMENT OF CLAIMS
17          16.     More than thirty days prior to the institution of this lawsuit, Charging Party
18   Sidney Scott filed a charge of discrimination with Plaintiff alleging violations of Title VII by
19   Fairbanks Ranch Country Club.
20          17.     After Charging Party Sidney Scott’s filing of the charge of discrimination, the
21   Commission investigated her allegations against Defendants.
22          18.     On March 9, 2018, the Commission issued to all Defendants a Letter of
23   Determination finding reasonable cause to believe that Defendants had violated Title VII and
24   inviting Defendants to join with the Commission in informal methods of conciliation to endeavor
25   to eliminate the discriminatory practices and provide appropriate relief.
26          19.     The Commission engaged in communications with all Defendants and provided
27   Defendants the opportunity to remedy the discriminatory practices described in the Letter of
28   Determination.




                                                     -4-
       Case 3:18-cv-01853-W-BLM Document 1 Filed 08/08/18 PageID.5 Page 5 of 9




 1           20.       The Commission was unable to secure from all Defendants a conciliation
 2   agreement acceptable to the Commission.
 3           21.       On June 29, 2018, the Commission issued to all Defendants a Notice of Failure of
 4   Conciliation.
 5           22.       All conditions precedent to the institution of this lawsuit have been fulfilled.
 6           23.       Since at least 2016, Defendants have engaged in unlawful employment practices
 7   in violation of §§ 703(a) and 704(a) of Title VII, 42 U.S.C. 2000e-2(a) and 2000e-3(a) by
 8   subjecting Charging Party and a class of adversely affected employees to sexual harassment and
 9   to retaliation.
10           24.       At all relevant times, Defendants have owned and operated Fairbanks Ranch
11   Country Club, a self-described “premier resort-style property,” with golf, tennis, and a restaurant
12   and bar area referred to as The Grille and Lounge.
13           25.       From at least 2016 to the present, Defendants have had over 100 employees at the
14   Fairbanks Ranch Country Club facility alone.
15           26.       Starting no later than 2016, Charging Party and other adversely affected female
16   employees were subjected to unwelcome sexual harassment, including but not limited to the
17   following:
18                        a. Charging Party was subjected to unwelcome conduct of a sexual nature
19                            from Manager Shant Karian. This conduct includes but was not limited to
20                            Karian’s touching, kicking, and firmly grabbing her buttocks. It also
21                            included Karian attempting to grope Charging Party, touch her breasts,
22                            and kiss her. Karian also grabbed Charging Party from behind. Karian also
23                            sent Charging Party text messages requesting pictures of her “ass.” After
24                            Charging Party did not provide Karian with the requested pictures of her
25                            “ass,” Karian began treating Charging Party negatively, including but not
26                            limited to scrutinizing her performance more and threatening to terminate
27                            her for a normally insignificant issue.
28                        b. During her employment with Defendants, Megan Fogelstrom was




                                                        -5-
       Case 3:18-cv-01853-W-BLM Document 1 Filed 08/08/18 PageID.6 Page 6 of 9




 1                         harassed by Karian and bartender Roman Savedra. On multiple occasions
 2                         Karian repeatedly made sexual advances, hitting her buttocks, putting his
 3                         arm around her waist and choking her, and repeatedly pursuing her
 4                         sexually. Karian made inappropriate comments of a sexual nature to
 5                         Fogelstrom and other female employees in her presence, asked Fogelstrom
 6                         what kind of underwear she wore and told her to flash her breasts to
 7                         customers. Karian also told male customers in front of Fogelstrom that
 8                         Fogelstrom could give them “lap dances.” In addition, Savedra grabbed
 9                         and kissed Fogelstrom, and attempted to kiss her on other occasions.
10                     c. During her employment with Defendants, Mary Charlebois was told by
11                         Manager Shant Karian that she needed to wear a tighter blouse to work.
12                         Karian made unwelcome comments of a sexual nature to Charlebois and
13                         other female employees. Charlebois felt pressured to flirt back with
14                         Karian, who did the scheduling at work. Charlebois’s hours were cut, and
15                         she received a lower rate of pay, because she did not engage in a sexual
16                         relationship with Karian.
17                     d. Manager Shant Karian gave favorable hours or shifts and higher hourly
18                         pay rates to female employees who acquiesced to his requests for sexual
19                         relationships and/or flirting. Those female employees who refused or
20                         ignored Karian’s requests and demands were subjected to less favorable
21                         hours or shifts, received lower pay rates, and faced more strict scrutiny
22                         regarding their work performance including being threatened with
23                         termination for normally insignificant issues.
24          27.    The harassment was sufficiently severe or pervasive to alter the conditions of
25   Charging Party and other adversely affected employees’ employment and created a hostile work
26   environment. Charging Party and other adversely affected employees reasonably perceived their
27   work environment to be sexually abusive or hostile work environment, resulting in Charging
28   Party and/or some of the adversely affected employees having no choice but to resign.




                                                    -6-
       Case 3:18-cv-01853-W-BLM Document 1 Filed 08/08/18 PageID.7 Page 7 of 9




 1          28.     Charging Party and the other adversely affected employees did not welcome the
 2   sexual harassment by Manager Shant Karian, other supervisors, and/or co-workers. Charging
 3   Party and the other adversely affected employees objected to and rejected the sexually harassing
 4   conduct, including but not limited to objecting to Karian about his comments, declining the
 5   requests and other comments that made clear the harassing conduct was unwelcome. Charging
 6   Party further filed a Charge of Discrimination with the EEOC.
 7          29.     Defendants knew or should have known of the sexual harassment of Charging
 8   Party and the other adversely affected employees because the sexual harassment was constant,
 9   conspicuous, and perpetrated by both coworkers and supervisors. The work environment was
10   inundated with sexual harassment. Furthermore, Charging Party and other adversely affected
11   employees complained and indicated their discomfort to Manager Shant Karian, to the California
12   Employment Development Department, and/or to the EEOC, which then notified Defendants
13   about the complaints.
14          30.     Defendants failed to take prompt and effective remedial action reasonably
15   calculated to end the harassment, including but were not limited to failing to either investigate or
16   conducting an inadequate investigation and failing to adequately discipline harassing supervisors
17   and/or coworkers. Defendants actively deterred employees from making sexual harassment
18   complaints, including instructing employees during a staff meeting to keep quiet about the
19   allegations of sexual harassment made by Charging Party and other adversely affected
20   employees.
21          31.     Defendants also retaliated against employees who engaged in activity protected
22   by Title VII including, but not limited to, rejecting and/or complaining about sexual harassment.
23   As a result of engaging in such protected activity, Charging Party and adversely affected
24   employees were subjected to adverse employment actions such as receiving lower rates of pay,
25   threats of discharge, and reduced hours or shifts.
26          32.     For some employees, including Charging Party and Mary Fogelstrom, the sexual
27   harassment resulted in their constructive discharge because of the intolerable working conditions
28   created by the hostile work environment.




                                                     -7-
       Case 3:18-cv-01853-W-BLM Document 1 Filed 08/08/18 PageID.8 Page 8 of 9




 1           33.     The effect of the practices complained of in paragraphs 23 to 32 above has been
 2   to deprive Charging Party and other adversely affected individuals of equal employment
 3   opportunities and otherwise adversely affect their status as employees because of their sex.
 4           34.     The unlawful employment practices complained of in paragraphs 23 to 32 above
 5   were intentional and caused Charging Party and adversely affected employees to suffer
 6   emotional distress.
 7           35.     The unlawful employment practices complained of in paragraphs 23 to 32 above
 8   were and are done with malice or with reckless indifference to the federally protected rights of
 9   Charging Party and other adversely affected individuals.
10                                       PRAYER FOR RELIEF
11           Wherefore, the Commission respectfully requests that this Court:
12           A.      Grant a permanent injunction enjoining Defendants, their officers, successors,
13   agents, servants, employees, attorneys, assigns, and all persons in active concert or participation
14   with each of them, from engaging in sexual harassment, retaliation, and any other employment
15   practices which discriminate based on sex.
16           B.      Order Defendants to institute and carry out policies, practices, and programs to
17   ensure which provide equal employment opportunities, and which eradicate the effects of its
18   past and present unlawful employment practices.
19           C.      Order Defendants to make whole Charging Party Sidney Scott and other
20   adversely affected employees by providing appropriate back pay with prejudgment interest, in
21   amounts to be determined at trial, and other affirmative relief necessary to eradicate the effects
22   of its unlawful employment practices, including but not limited to back pay, reinstatement, or
23   front pay in lieu thereof.
24           D.      Order Defendants to make Charging Party Sidney Scott and other adversely
25   affected employee whole by providing compensation for past and future pecuniary losses,
26   including but not limited to out-of-pocket expenses suffered by him which resulted from the
27   unlawful employment practices described above in the amounts to be determined at trial.
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                                                     -8-
Case 3:18-cv-01853-W-BLM Document 1 Filed 08/08/18 PageID.9 Page 9 of 9
